Case: 1:19-cr-00916 Document #: 68 Filed: 08/18/21 Page 1 of 14 PageID #:263
Case: 1:19-cr-00916 Document #: 68 Filed: 08/18/21 Page 2 of 14 PageID #:264
Case: 1:19-cr-00916 Document #: 68 Filed: 08/18/21 Page 3 of 14 PageID #:265
Case: 1:19-cr-00916 Document #: 68 Filed: 08/18/21 Page 4 of 14 PageID #:266
Case: 1:19-cr-00916 Document #: 68 Filed: 08/18/21 Page 5 of 14 PageID #:267
Case: 1:19-cr-00916 Document #: 68 Filed: 08/18/21 Page 6 of 14 PageID #:268
Case: 1:19-cr-00916 Document #: 68 Filed: 08/18/21 Page 7 of 14 PageID #:269
Case: 1:19-cr-00916 Document #: 68 Filed: 08/18/21 Page 8 of 14 PageID #:270
Case: 1:19-cr-00916 Document #: 68 Filed: 08/18/21 Page 9 of 14 PageID #:271
Case: 1:19-cr-00916 Document #: 68 Filed: 08/18/21 Page 10 of 14 PageID #:272


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Case: 1:19-cr-00916 Document #: 68 Filed: 08/18/21 Page 11 of 14 PageID #:273
Case: 1:19-cr-00916 Document #: 68 Filed: 08/18/21 Page 12 of 14 PageID #:274
Case: 1:19-cr-00916 Document #: 68 Filed: 08/18/21 Page 13 of 14 PageID #:275
Case: 1:19-cr-00916 Document #: 68 Filed: 08/18/21 Page 14 of 14 PageID #:276
